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 7                         UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9                     (HONORABLE JANIS L. SAMMARTINO)
10   UNITED STATES OF AMERICA,                  CASE NO.: 21CR2513-JLS
11                       Plaintiff,
                                                ORDER GRANTING JOINT MOTION
12         v.                                   TO CONTINUE MOTION HEARING /
                                                TRIAL SETTING
13   ALFONSO ZAPIEN,
14                       Defendant.
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16         For good cause shown and upon joint motion of the parties, IT IS HEREBY
17   ORDERED that the Motion Hearing/Trial Setting currently set for October 8, 2021
18   at 1:30 p.m., be continued to November 4, 2021 at 1:30 p.m. For the reasons set
19   forth in the joint motion, it is further ordered that the time be excluded under the
20   Speedy Trial Act in the interests of justice.
21         SO ORDERED.
22   Dated: September 28, 2021
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